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    15   League, NFL Enterprises LLC, and the
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    16

    17                                UNITED STATES DISTRICT COURT
    18                             CENTRAL DISTRICT OF CALIFORNIA
    19
           IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (SKx)
    20     LEAGUE’S “SUNDAY TICKET”
           ANTITRUST LITIGATION                        JOINT STIPULATION
    21     ______________________________              REQUESTING HEARING ON
    22                                                 MOTIONS IN LIMINE
           THIS DOCUMENT RELATES TO:
    23     ALL ACTIONS                                 Judge: Hon. Philip S. Gutierrez
    24                                                 Pretrial Conference Date: 5/17/2024
                                                       Trial Date: 6/6/2024
    25                                                 Courtroom: First Street Courthouse
    26                                                             350 West 1st Street
                                                                   Courtroom 6A
    27                                                             Los Angeles, CA 90012
    28


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     1           WHEREAS, this matter was previously scheduled for trial to commence on
     2   February 22, 2024;
     3           WHEREAS, counsel for Plaintiffs and the NFL Defendants previously
     4   stipulated that the motions in limine would be heard at the final pretrial conference,
     5   then scheduled for February 7, 2024 (see Docket No. 1088);
     6           WHEREAS, the Court Ordered the parties’ stipulated hearing date (see
     7   Docket No. 1089);
     8           WHEREAS, the parties’ filed motions in limine on January 5, 2024 (see
     9   Docket Nos. 1101, 1102, 1103, 1106, 1108, 1112, 1113, 1114, 1118, 1122 and
    10   1126), and oppositions on January 19, 2024 (see Docket Nos. 1164, 1168, 1169,
    11   1170, 1174, 1175, 1182, 1188, 1192 and 1193);
    12           WHEREAS, on January 23, 2024, prior to the parties filing replies, the Court
    13   continued the final pretrial conference and motions in limine hearing to May 17,
    14   2024 and continued the trial to June 6, 2024 (Docket No. 1202);
    15           WHEREAS, the Court advised the parties to file a stipulation regarding which
    16   motions in limine need an immediate ruling (Docket No. 1202);
    17           WHEREAS the parties filed replies in support of the motions in limine on
    18   February 9, 2024 (see Docket Nos. 1220, 1221, 1225, 1226, 1227, 1231, 1235, 1239,
    19   1242 and 1244).
    20           NOW THEREFORE, Plaintiffs and the NFL Defendants, by and through their
    21   respective counsel, hereby stipulate and request a hearing on the following MILs on
    22   April 5, 2024 or at the Court’s earliest convenience:
    23                (1)      Plaintiffs’ MIL #2 (Docket No. 1102)
    24                (2)      Plaintiffs’ MIL #3 (Docket No. 1106)
    25                (3)      Plaintiffs’ MIL #4 (Docket No. 1113)
    26                (4)      Defendants’ MIL #1 (Docket No. 1103)
    27                (5)      Defendants’ MIL #2 (Docket No. 1108)
    28                (6)      Defendants’ MIL #3 (Docket No. 1112)
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     1                (7)      Defendants’ MIL #4 (Docket No. 1114)
     2                (8)      Defendants’ MIL #7 (Docket No. 1126)
     3   IT IS SO STIPULATED.
     4   Dated: March 8, 2024                      Respectfully submitted.
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                                                Plaintiffs’ Co-Lead Counsel
    17

    18   All signatories listed, and on whose behalf the filing is submitted, concur in the
         filing’s content and have authorized the filing.
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